                               Case 4:19-cv-02260 Document 1-1 Filed on 06/24/19 in TXSD Page 1 of 4
JS 44 (Rev. 07/16)                                                             CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                                 DEFENDANTS
    ERNETTA DEJEAN                                                                                              State Farm Mutual Automobile Insurance Company


        (b) County of Residence of First Listed Plaintiff             Harris County, TX                           County of Residence of First Listed Defendant              Austin, TX
                                      (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                  NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                             THE TRACT OF LAND INVOLVED.

        (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
    Randall L. Novak SBN: 24072717; Novak Law Firm                                                              Keron A. Wright SBN:24075311
    P.O. Box 146, Houston, Texas 77001; Tel. 832-707-6712                                                       Stewart Law Group
    Fax 832-447-1414                                                                                            1722 Routh St.#745 Dallas, TX 75201; (469) 607-2300

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                             III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                              (For Diversity Cases Only)                                         and One Box for Defendant)
’ 1        U.S. Government                ’ 3     Federal Question                                                                     PTF        DEF                                           PTF      DEF
             Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1        ’ 1       Incorporated or Principal Place      ’ 4      ’ 4
                                                                                                                                                              of Business In This State

’ 2        U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2     ’    2   Incorporated and Principal Place    ’ 5      ’ 5
             Defendant                              (Indicate Citizenship of Parties in Item III)                                                              of Business In Another State

                                                                                                         Citizen or Subject of a           ’ 3     ’    3   Foreign Nation                      ’ 6      ’ 6
                                                                                                           Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
I              CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                          BANKRUPTCY                    OTHER STATUTES              I
    ’   110 Insurance                        PERSONAL INJURY                 PERSONAL INJURY             ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158            ’ 375 False Claims Act
    ’   120 Marine                       ’   310 Airplane                  ’ 365 Personal Injury -             of Property 21 USC 881        ’ 423 Withdrawal                   ’ 376 Qui Tam (31 USC
    ’   130 Miller Act                   ’   315 Airplane Product                Product Liability       ’ 690 Other                               28 USC 157                         3729(a))
    ’   140 Negotiable Instrument                 Liability                ’ 367 Health Care/                                                                                   ’ 400 State Reapportionment
    ’   150 Recovery of Overpayment      ’   320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                  ’ 410 Antitrust
            & Enforcement of Judgment             Slander                        Personal Injury                                             ’ 820 Copyrights                   ’ 430 Banks and Banking
    ’   151 Medicare Act                 ’   330 Federal Employers’              Product Liability                                           ’ 830 Patent                       ’ 450 Commerce
    ’   152 Recovery of Defaulted                 Liability                ’ 368 Asbestos Personal                                           ’ 840 Trademark                    ’ 460 Deportation
            Student Loans                ’   340 Marine                          Injury Product                                                                                 ’ 470 Racketeer Influenced and
            (Excludes Veterans)          ’   345 Marine Product                  Liability                           LABOR                       SOCIAL SECURITY                      Corrupt Organizations
    ’   153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY            ’ 710 Fair Labor Standards          ’   861 HIA (1395ff)               ’ 480 Consumer Credit
            of Veteran’s Benefits        ’   350 Motor Vehicle             ’ 370 Other Fraud                    Act                          ’   862 Black Lung (923)           ’ 490 Cable/Sat TV
    ’   160 Stockholders’ Suits          ’   355 Motor Vehicle             ’ 371 Truth in Lending        ’ 720 Labor/Management              ’   863 DIWC/DIWW (405(g))         ’ 850 Securities/Commodities/
    ’   190 Other Contract                       Product Liability         ’ 380 Other Personal                 Relations                    ’   864 SSID Title XVI                   Exchange
    ’   195 Contract Product Liability   ’   360 Other Personal                  Property Damage         ’ 740 Railway Labor Act             ’   865 RSI (405(g))               ’ 890 Other Statutory Actions
    ’   196 Franchise                            Injury                    ’ 385 Property Damage         ’ 751 Family and Medical                                               ’ 891 Agricultural Acts
                                         ’   362 Personal Injury -               Product Liability              Leave Act                                                       ’ 893 Environmental Matters
                                                 Medical Malpractice                                     ’ 790 Other Labor Litigation                                           ’ 895 Freedom of Information
I           REAL PROPERTY                      CIVIL RIGHTS                 PRISONER PETITIONS           ’ 791 Employee Retirement             FEDERAL TAX SUITS                      Act
    ’   210 Land Condemnation            ’   440 Other Civil Rights          Habeas Corpus:                    Income Security Act           ’ 870 Taxes (U.S. Plaintiff        ’ 896 Arbitration
    ’   220 Foreclosure                  ’   441 Voting                    ’ 463 Alien Detainee                                                     or Defendant)               ’ 899 Administrative Procedure
    ’   230 Rent Lease & Ejectment       ’   442 Employment                ’ 510 Motions to Vacate                                           ’ 871 IRS—Third Party                    Act/Review or Appeal of
    ’   240 Torts to Land                ’   443 Housing/                        Sentence                                                           26 USC 7609                       Agency Decision
    ’   245 Tort Product Liability               Accommodations            ’ 530 General                                                                                        ’ 950 Constitutionality of
    ’   290 All Other Real Property      ’   445 Amer. w/Disabilities -    ’ 535 Death Penalty                 IMMIGRATION                                                            State Statutes
                                                 Employment                  Other:                      ’ 462 Naturalization Application
                                         ’   446 Amer. w/Disabilities -    ’ 540 Mandamus & Other        ’ 465 Other Immigration
                                                 Other                     ’ 550 Civil Rights                  Actions
                                         ’   448 Education                 ’ 555 Prison Condition
                                                                           ’ 560 Civil Detainee -
                                                                                 Conditions of
                                                                                 Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original                ’ 2 Removed from                ’ 3         Remanded from            ’ 4 Reinstated or      ’ 5 Transferred from    ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding                  State Court                             Appellate Court              Reopened               Another District            Litigation -                   Litigation -
                                                                                                                            (specify)                       Transfer                       Direct File
                                              Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                               28 U.S.C. §1332(a)(1) and 28 U.S.C. § 1441(a)
VI. CAUSE OF ACTION Brief description of cause:
                                               Breach of Contract for UIM/UM benefits and violations of the TX Insurance Code
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                     DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                             100,000.00                                JURY DEMAND:         ’ Yes     ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                                 DOCKET NUMBER
DATE                                                                         SIGNATURE OF ATTORNEY OF RECORD
    06/24/2019                                                              /s/ Keron A. Wright
FOR OFFICE USE ONLY

        RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                           MAG. JUDGE

                     Print                               Save As...                                                                                                                   Reset
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                                     Harris County Docket Sheet


2019-34127
COURT: 113th
FILED DATE: 5/16/2019
CASE TYPE: Motor Vehicle Accident

                                   DEJEAN, ERNETTA
                               Attorney: NOVAK, RANDALL LORANCE

                                              vs.
                   STATE FARM MUTUAL AUTOMOBILE INSURANCE
                                  COMPANY
                                Attorney: WRIGHT, KERON ANDRE


                                     Docket Sheet Entries
         Date        Comment




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113                                                                        6/24/2019 9:00:27 AM
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Supplemental Civil Cover Sheet
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                        Supplemental Civil Cover Sheet for Cases Removed
                                       From State Court


This form must be attached to the Civil Cover Sheet at the time the case is filed in the U.S. District
                  Clerk’s Office. Additional sheets may be used as necessary.


    1. State Court Information:

        Please identify the court from which the case is being removed and specify the number assigned
        to the case in that court.

                                  Court                                     Case Number
         113th District Court Harris County, Texas                         2019-34127


    2. Style of the Case:

        Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s), Crossclaimant(s)
        and Third Party Claimant(s) still remaining in the case and indicate their party type. Also, please
        list the attorney(s) of record for each party named and include their bar number, firm name,
        correct mailing address, and phone number (including area code).

                        Party and Party Type                                 Attorney(s)
         Ernetta Dejean - Plaintiff                       Randall L. Novak SBN 24072717; Novak Law Firm
                                                          P.O. Box 146, Houston, TX 77001; 832-707-6712
         State Farm Mutual Automobile Insurance Company   Keron Wright SBN:2407531
         Defendant                                        Stewart Law Group
                                                          1722 Routh St.#745 Dallas, TX 75201;(469) 607-2300

    3. Jury Demand:

        Was a Jury Demand made in State Court?                Yes                     No
                 If “Yes,” by which party and on what date?

                 ___________________________________                 06/24/2019
                                                                     ______________________
                 Party                                               Date
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Supplemental Civil Cover Sheet
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    4. Answer:

        Was an Answer made in State Court?           Yes                        No
                 If “Yes,” by which party and on what date?

                 Defendant
                 ___________________________________                   06.14.2019
                                                                       ______________________
                 Party                                                 Date


    5. Unserved Parties:

        The following parties have not been served at the time this case was removed:

                                 Party                               Reason(s) for No Service
         None                                         N/A




    6. Nonsuited, Dismissed or Terminated Parties:

        Please indicate any changes from the style on the State Court papers and the reason for that
        change:

                                 Party                                          Reason
         None.                                        N/A




    7. Claims of the Parties:

        The filing party submits the following summary of the remaining claims of each party in this
        litigation:

                                 Party                                          Claim(s)
         Plaintiff                                    Plaintiff plead for a declaratory judgment for insurance policy
         Defendant                                    benefits & allege Defendant violated of the Texas Insurance
                                                      Code by failing to pay uninsured benefits after a car accident
                                                      that happened 8.5.17. Defendant denies it breached the
                                                      insurance policy or violated the Texas Insurance Code.
